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 7
                        UNITED STATES BANKRUPTCY COURT
 8                            DISTRICT OF NEVADA
 9

10   In re Kevida Turner,                 )   Case No.: 15-16646-ABL
                                          )   Chapter 7
11                                        )
                     Debtor.              )
12                                        )   MOTION TO DISMISS CHAPTER 7
                                          )   BANKRUPTCY PURSUANT TO 11 USC
13                                        )   707(A)
                                          )
14                                        )
                                          )
15

16
          COMES NOW Mona Ng, landlord to Debtor, and respectfully
17
     requests an Order of this Court dismissing the above-captioned
18

19   bankruptcy case. In support of this Motion, Movant states as

20   follows:
21
                              JURISDICTION AND VENUE
22
          This Court has jurisdiction over this contested matter
23
     pursuant to 28 USC §1334 and §157(a). This contested matter is a
24

25   core proceeding properly heard by this Court pursuant to 28 USC

26   §157(b)(2). Venue is proper in the District of Nevada pursuant
27
     to 28 USC §1409(a).
28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 1
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 1                              BASIS FOR RELIEF
 2
          The Bankruptcy Petition should be dismissed with cause
 3
     pursuant to 11 USC §707(a) because the Petition was not filed in
 4
     good faith.
 5

 6        Section 707(a) provides that “[t]he Court may dismiss a

 7   case under this chapter only after notice and a hearing and only
 8
     for cause, including” unreasonable delay by the debtor that is
 9
     prejudicial to her creditors, nonpayment of filing fees, and
10
     failure to file required schedules and statements. Because the
11

12   word “including” is not exclusive (11 USC §102(3)), courts have

13   recognized that cases may be dismissed for cause on grounds
14
     other than those specifically enumerated in Section 707(a). See
15
     e.g., McDow v. Smith, 295 BR 69, 75 (ED Va. 2003).
16
          Although Section 707(a) does not define “cause,” courts
17

18   around the country have recognized that a debtor’s bad faith or

19   omissions that “constitute a misuse or abuse of the provisions,
20
     purpose, or spirit of the Bankruptcy Code” meet the definition.
21
     Id. at 74-75. There is an “implicit prerequisite” of good faith
22
     that protects the “jurisdictional integrity of the bankruptcy
23

24   courts by rendering their powerful equitable weapons … available

25   only to those debtors and creditors with ‘clean hands.’” Carolin
26
     Corp. v. Miller, 886 F.2d 693, 698 (4th Cir. 1989).
27

28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 2
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 1        Courts employ a “totality of the circumstances” test to
 2
     determine whether a filing has been made in bad faith, and these
 3
     factors include:
 4
          (a)        The debtor’s concealment or misrepresentation of
 5

 6   assets and/or sources of income, such as the improper or

 7   unexplained transfer of assets prior to filing;
 8
          (b)        The debtor’s lack of candor and completeness in
 9
     his statements and schedules, such as inflation of his expenses
10
     to disguise his financial well-being;
11

12        (c)        The debtor has sufficient resources to repay his

13   debts, and leads a lavish lifestyle, continuing to have
14
     excessive and continued expenditures;
15
          (d)        The debtor’s motivation in filing is to avoid a
16
     single large debt incurred through conduct akin to fraud,
17

18   misconduct, or gross negligence, such as a judgment in pending

19   litigation, or a collection action;
20
          (e)        The debtor’s petition is part of a ‘deliberate
21
     and persistent pattern’ of evading a single creditor;
22
          (f)        The debtor is ‘overutilizing the protection of
23

24   the Code’ to the detriment of his creditors;

25        (g)        The debtor reduced his creditors to a single
26
     creditor prior to filing the petition;
27
          (h)        The debtor’s lack of attempt to repay creditors;
28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 3
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 1        (i)        The debtor’s payment of debts to insider
 2
     creditors;
 3
          (j)        The debtor’s ‘procedural gymnastics’ that have
 4
     the effect of frustrating creditors;
 5

 6        (k)        The unfairness of the debtor’s use of the

 7   bankruptcy process.”
 8
     McDow, 295 BR at 80 n.22 (emphasis added). Although only one of
 9
     these factors is not sufficient, courts have held that dismissal
10
     is warranted in the presence of a combination of these factors.
11

12   See In Re McCarthy, 312 BR 413 (Bankr.Nev. 2004)(“many of the

13   indicia of a bad faith filing..”); .
14
          As discussed below, this Bankruptcy Case presents at least
15
     six of the eleven factors that courts consider when determining
16
     whether a Chapter 7 petition should be dismissed as a bad faith
17

18   filing pursuant to Section 707(a) of the Bankruptcy Code.

19   Consequently, the totality of the circumstances demonstrates
20
     that the Debtor lacked good faith in filing the Petition, and
21
     therefore, the Bankruptcy Case should be dismissed for cause
22
     pursuant to Section 707(a).
23

24                      FACTS DEMONSTRATING BAD FAITH

25        Movant is Debtor’s landlord at 10503 Miner’s Gulch, the
26
     debtor’s address on the Petition. Due to her failure to pay rent
27
     in October, 2015, the Landlord moved for Summary Eviction. A
28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 4
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 1   copy of the Justice Court’s docket is attached as Exhibit “A” to
 2
     substantiate these facts. Debtor answered on October 28, 2015,
 3
     in Las Vegas Justice Court case 15E024688. Id. At the Justice
 4
     Court’s hearing on November 9, 2015, the Landlord’s
 5

 6   representative was present. Debtor did not appear. These facts

 7   are reflected in Exhibit “B.” An Order for Summary Eviction was
 8
     granted. Exhibit “A.”
 9
          Thereafter on November 13, 2015, Debtor asked to stay the
10
     eviction, and this request was denied. Id. On November 17, 2015,
11

12   Debtor appealed to the District Court in case A-15-727949-A.

13   Exhibit “B” contains the District Court’s findings. Judge Ronald
14
     Israel denied the appeal, citing Debtor’s failure to appear on
15
     November 9, 2015, and noting that the Debtor had no valid
16
     defenses to the rent obligation. Id. As such, the eviction was
17

18   proper. Id.

19        The case was remanded from District Court to Justice Court
20
     on November 25, 2015, and the disposition sent to the Constable
21
     for eviction. Exhibit “A.” This Bankruptcy Case was filed on
22
     November 30, 2015.
23

24        The foregoing order of events demonstrates that the Debtor

25   has filed bankruptcy to avoid and frustrate a completed eviction
26
     proceeding, one in which all appeals have been exhausted and for
27

28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 5
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 1   which the Order of Eviction has been transmitted to the
 2
     Constable for completion.
 3
          In particular, the Debtor used state court procedural
 4
     methods (such as moving to stay and appealing the disposition)
 5

 6   to delay the proceedings without an intent to cure or vacate.

 7   This is demonstrated by the Debtor’s preparation and filing of
 8
     motions but failure to attend duly noticed court hearings
 9
     regarding those filings.
10
          These actions are characteristic of this case, in which the
11

12   Debtor filed the minimum documents necessary to stay the

13   eviction using the automatic stay, but waited to do so until the
14
     very last moment before the constable executed on the Eviction
15
     Order. In a similar cases- where a bankruptcy petition was filed
16
     to frustrate an ongoing eviction or to avoid a possible
17

18   eviction- Bankruptcy Courts have found the petition made in bad

19   faith. Norwest Mortgage Inc. v. Waters, 60 BR 339 (Bkrtcy. ED
20
     Wis. 1986); National Home Equity Corp. v. Villareal, 46 BR 284
21
     (Bkrtcy. CD Cal 1984).
22
          Moreover, Debtor failed to file a certification
23

24   simultaneously with her Petition verifying that non-bankruptcy

25   laws allow for a cure of the monetary default and that the
26
     Debtor has deposited with the clerk of the Court any rent that
27
     would become due within 30 days of the filing date. 11 USC
28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 6
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 1   §362(1)(1)(a)-(b). Thus, Debtor has not availed herself of an
 2
     exception to the automatic stay pertaining to eviction
 3
     proceedings (11 USC §362(b)(22)) which allows 30 days to cure
 4
     defaults. 11 USC §362(1)(1) – (2). Therefore, Debtor has
 5

 6   effectively indicated her intention not to cure prior defaults

 7   or to make payments under the rental agreement going forward.
 8
     This Motion is not requesting relief from the stay, which
 9
     Landlord will make under separate motion after meeting the
10
     Section 362 pre-filing requirements.
11

12        The foregoing demonstrates that the Petition was timed to

13   avoid the Debtor’s obligation to her Landlord; furthermore, the
14
     Petition is as part of a deliberate and ongoing pattern of
15
     evading this rental obligation using “procedural gymnastics”
16
     (numerous court filings without appearances) to avoid a valid
17

18   eviction.

19        Debtor’s continued occupancy in the property without paying
20
     rent and without depositing future amounts with the court clerk
21
     or any other indication that she intends to cure existing
22
     defaults and make payments going forward, show that she is
23

24   availing herself of the benefits of the Code, but not adhering

25   to its requirements. In doing so, Debtor is overutilizing the
26
     Code’s equitable protections to the detriment of creditors and
27

28



           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 7
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 1   unfairly using the bankruptcy process to evade eviction and
 2
     continue living rent-free.
 3
          Combined, these facts demonstrate that the Petition was
 4
     filed in bad faith and should be dismissed on that basis.
 5

 6   Creditor Mona Ng respectfully requests an Order of this Court to

 7   this effect.
 8
                                           Dated this 10th day of December,
 9                                         2015.

10
                                              /s/ Valerie Del Grosso, Esq.
11                                            Valerie Del Grosso, Esq.
                                              Del Grosso Law, Ltd.
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           MOTION TO DISMISS CHAPTER 7 BANKRUPTCY PURSUANT TO 11 USC 707(A) - 8
